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                              UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                               WESTERN DIVISION
  11
  12   JENNY LISETTE FLORES, et al.,        No. CV 85-4544-DMG-AGRx
  13         Plaintiffs,                    MEMORANDUM OF POINTS AND
  14                                        AUTHORITIES IN SUPPORT OF MOTION FOR
       v.                                   AWARD OF ATTORNEYS’ FEES AND COSTS
  15
       MERRICK GARLAND, Attorney General of
  16                                        Hearing: March 25, 2022
       the United States, et al.,
                                            Time: 9:30 a.m.
  17                                        Hon. Dolly M. Gee
  18         Defendants.
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                                                                 iv        MEM. IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
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   1      I.      INTRODUCTION

   2           Plaintiffs move the Court to award them attorneys’ fees and costs
   3   incurred in enforcing the Flores Settlement Agreement (“Settlement”) and
   4   opposing Defendants’ motion to terminate the Settlement.
   5           In September 2018, the Department of Homeland Security (“DHS”) and the
   6   Department of Health and Human Services (“HHS”) (collectively, the
   7   “Government” or “Defendants”) published a proposed rule, Apprehension,
   8   Processing, Care and Custody of Alien Minors and Unaccompanied Alien
   9   Children, 83 Fed. Reg. 45,486 (Sept. 7, 2018) (“Proposed Rule”). On November 2,
  10   2018, Plaintiffs filed a Motion to Enforce Settlement based on the Proposed Rule’s
  11   inconsistency with the Settlement. See Doc. # 516. The Court deferred ruling on
  12   this motion until Defendants published final regulations. See Doc. # 525.
  13           On August 23, 2019, Defendants issued a final rule “relating to the
  14   apprehension, processing, care, custody, and release” of class members, 84 Fed.
  15   Reg. 44,392 (Aug. 23, 2019) (the “Final Rule”). On August 30, 2019, Defendants
  16   filed a Notice of Termination and Motion in the Alternative to Terminate the Flores
  17   Settlement Agreement (“Motion to Terminate”) [Doc. #639] and Plaintiffs filed a
  18   Supplemental Memorandum in Support of Motion to Enforce Settlement [Doc.
  19   # 634]. Plaintiffs’ extensive briefing in response to Defendants’ proposed and final
  20   regulations sought to ensure that Flores class members were afforded the
  21   protections and services guaranteed by the Settlement and did not lose those
  22   protections based on regulations that were inconsistent with the terms of the
  23   Settlement and failed to implement the Settlement. See Doc Nos. 516, 634, 668.
  24           On September 27, 2019, the Court granted Plaintiffs’ Motion to Enforce the
  25   Settlement and denied Defendants’ Motion to Terminate. See Order re Plaintiffs’
  26   Motion to Enforce Settlement and Defendants’ Notice of Termination and Motion
  27   in the Alternative to Terminate the Flores Settlement Agreement, September 27,
  28   2019, Doc. # 688 (“Sept. 27 Order”). On December 29, 2020, the Ninth Circuit

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   1   affirmed in part and reversed in part, upholding the Court’s injunction as to many
   2   of the regulations at issue and holding that the Court “did not abuse its discretion in
   3   denying the government’s motion to terminate the Agreement.” Flores v. Rosen,
   4   984 F.3d 720, 744 (9th Cir. 2020).
   5             Plaintiffs now apply pursuant to the Equal Access to Justice Act, 28 U.S.C.
   6   § 2412(d) (“EAJA”), for an award of attorneys’ fees and costs incurred in securing
   7   this Court’s enforcement order and defending it on appeal, in the total amount of
   8   $480,749.46.
   9       II.      TIMELINESS OF FEE REQUEST
  10             The EAJA requires that the successful litigant file a fee application “within
  11   thirty days of final judgment in the action”, 28 U.S.C. § 2412(d)(1)(B), which
  12   means “30 days after the date when a petition for a writ of certiorari would be
  13   untimely.” Lizardi v. Wilkinson, 986 F.3d 1294, 1295 (9th Cir. 2021). Under the
  14   Supreme Court’s COVID-19 orders, the deadline to seek a writ of certiorari in this
  15   matter was December 13, 2021, 150 days from the Ninth Circuit’s July 16, 2021,
  16   denial of panel rehearing. See U.S. Supreme Court Miscellaneous Order, July 19,
  17   2021, https://www.supremecourt.gov/orders/courtorders/071921zr_4g15.pdf;
  18   Flores v. Garland, No. 19-56326, Doc. # 92 (9th Cir. July 16, 2021) (order denying
  19   panel rehearing).1 The instant fee motion is therefore timely.
  20
  21
       1
  22     In response to the COVID-19 pandemic, the Supreme Court extended the time to
       seek certiorari from 90 days to 150 days. See U.S. Supreme Court Miscellaneous
  23   Order, March 19, 2020,
  24   https://www.supremecourt.gov/orders/courtorders/031920zr_d1o3.pdf. The Court
       rescinded this order on July 19, 2021, subject to the clarification that “in any case in
  25   which the relevant lower court judgment, order denying discretionary review, or
  26   order denying a timely petition for rehearing was issued prior to July 19, 2021, the
       deadline to file a petition for a writ of certiorari remains extended to 150 days from
  27   the date of that judgment or order.” See U.S. Supreme Court Miscellaneous Order,
  28   July 19, 2021,
       https://www.supremecourt.gov/orders/courtorders/071921zr_4g15.pdf

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   1      III.   ARGUMENT

   2         A. Plaintiffs Satisfy All Requirements for an Award of EAJA Fees and
                Costs
   3
             The EAJA provides:
   4
             … a court shall award to a prevailing party other than the United States fees
   5         and other expenses … incurred by that party in a civil action (other than cases
             sounding in tort), … brought by or against the United States in any court
   6
             having jurisdiction of that action, unless the court finds that the position of the
   7         United States was substantially justified or that special circumstances make an
             award unjust.
   8
       28 U.S.C. § 2412(d)(1)(A). Eligibility for a fee award under EAJA “requires: (1)
   9
       that the claimant be ‘a prevailing party’; (2) that the Government’s position was not
  10
       ‘substantially justified’; (3) that no ‘special circumstances make an award unjust’;
  11
       and, (4) pursuant to 28 U.S.C. § 2412(d)(1)(B), that any fee application be
  12
       submitted to the court within 30 days of final judgment in the action and be
  13
       supported by an itemized statement.” Ibrahim v. U.S. Dep’t of Homeland Sec., 912
  14
       F.3d 1147, 1167 (9th Cir. 2019) (en banc) (quoting Comm’r, I.N.S. v. Jean, 496
  15
       U.S. 154, 158 (1990)).
  16
             “The clearly stated objective of the EAJA is to eliminate financial
  17
       disincentives for those who would defend against unjustified governmental action
  18
       and thereby to deter the unreasonable exercise of Government authority.” Id. at
  19
       1166 (quoting Ardestani v. I.N.S., 502 U.S. 129, 138 (1991)). “Congress
  20
       specifically intended the EAJA to deter unreasonable agency conduct.” Id. at 1166-
  21
       67 (citing Jean, 496 U.S. at 163 n.11 and Pub. L. No. 96-481, §§ 201-08, 94 Stat.
  22
       2321, 2325-30 (1980)). Therefore, when a party has prevailed against it, the burden
  23
       shifts to the Government to prove that its position, both before and during the
  24
       litigation, was substantially justified or that special circumstances make an award of
  25
       attorneys’ fees and costs unjust. Scarborough v. Principi, 541 U.S. 401, 416-17
  26
       (2004); Love v. Reilly, 924 F.2d 1492, 1495 (9th Cir. 1991).
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                                                 3       MEM. IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
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   1
   2
             1. Plaintiffs are prevailing parties.
   3
             Under the EAJA, a party prevails when it has been granted “some relief by a
   4
       court.” Buckhannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health &
   5
       Hum. Res., 532 U.S. 598, 603 (2001).2 To prove prevailing party status, an EAJA
   6
       petitioner must establish: (1) a “material alteration of the legal relationship of the
   7
       parties,” and (2) a “judicial imprimatur on the change.” Id. at 604-05.
   8
              A party prevails, and thereafter remains a prevailing party, when it has
   9
       obtained an enforceable settlement or consent decree. Prison Legal News v.
  10
       Schwarzenegger, 608 F.3d 446, 451 (9th Cir. 2010). Plaintiffs accordingly
  11
       prevailed in this action by obtaining the Settlement in 1997.3
  12
             Plaintiffs further prevailed on the specific motions at issue by obtaining an
  13
       order enforcing the Settlement and denying the Government’s motion to terminate
  14
       the Settlement. See Sept. 27 Order. The Ninth Circuit affirmed the Court’s
  15
       decision not to terminate the Settlement and affirmed an injunction against parts of
  16
       the Final Rule. Flores v. Rosen, 984 F.3d at 744.4
  17
  18   2
         Although Buckhannon involved non-EAJA fee-shifting statutes, the Ninth Circuit
  19   has held that the requirements for a prevailing party announced in that decision are
  20   applicable to EAJA awards as well. Perez-Arellano v. Smith, 279 F.3d 791, 793-94
       (9th Cir. 2002).
  21   3
         Plaintiffs are entitled to recover reasonable fees related to “compliance
  22   monitoring” of a settlement or injunction, even in the absence of new judicial relief.
       Balla v. Idaho, 677 F.3d 910, 918-20 (9th Cir. 2012); see also Prison Legal News,
  23   608 F.3d at 451 (reaffirming prior holding “that a party that prevails by obtaining a
  24   consent decree may recover attorneys’ fees under § 1988 for monitoring
       compliance with the decree, even when such monitoring does not result in any
  25   judicially sanctioned relief” (citing Keith v. Volpe, 833 F.2d 850, 855-57 (9th Cir.
  26   1987)).
       4
         Although the Ninth Circuit allowed parts of the Final Rule to take effect,
  27   Defendants’ Motion to Terminate was unambiguously denied and Plaintiffs
  28   obtained the core relief requested in this litigation—continued enforcement of the


                                                  4      MEM. IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
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   1         2. Plaintiffs’ net worth is far less than $2,000,000.

   2         Pursuant to 28 U.S.C. § 2412(d)(2)(B)(i), a party’s “net worth [must] not
   3   exceed $2,000,000 at the time the civil action was filed ….” The original named
   4   plaintiffs in this action were indigent at the time this action commenced. See
   5   Declaration of Carlos Holguín, Exhibit A, (“Holguín”) at ¶ 5. Plaintiff class
   6   members are generally indigent as well. By definition, they are immigrant or
   7   refugee children in federal custody because of their lack of immigration status.
   8   Settlement ¶¶ 10-11; Holguín at ¶ 5 (affirming that Flores plaintiff class members
   9   are on the whole indigent).
  10         Plaintiffs accordingly meet the second requirement for an EAJA fee award.
  11   See Cobell v. Norton, 407 F. Supp. 2d 140, 148 (D.D.C. 2005) (“[A]ffidavits signed
  12   by the class representatives, attesting to the fact that their net worth fell within
  13   EAJA statutory guidelines at the time the litigation was initiated … amply satisfy
  14   the requirements of the statute for the entire class.”).
  15         3. Defendants’ position lacked substantial justification.
  16         Because Plaintiffs prevailed and meet the EAJA’s net worth standard, “an
  17   award of fees is mandatory under the EAJA unless the government’s position is
  18   substantially justified or special circumstances exist that make an award of fees
  19   unjust.” Love, 924 F.2d at 1495. Defendants must carry the burden of proof with
  20   respect to both factors. Id.; see also Ibrahim, 912 F.3d at 1167.
  21         Plaintiffs have alleged that Defendants’ position was without substantial
  22   justification and that no special circumstances make a fee award unjust. The
  23   burden therefore shifts to Defendants to show their position was substantially
  24
  25   Settlement. See Supplemental Memorandum in Support of Motion to Enforce
  26   Settlement at 24-25, Aug. 30, 2019, Doc. # 634 (requesting that “the Court order
       Defendants to adhere to the Settlement notwithstanding the Final Rule” and stating
  27   that “[s]uch an order should suffice to preserve the Settlement’s protections for
  28   class members”); see also Proposed Order Enforcing Settlement Notwithstanding
       Publication of Final Rule, Aug. 30, 2019, Doc. # 634-2.

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   1   justified or that special circumstances would make a fee award unjust. See
   2   Scarborough, 541 U.S. at 416-17; see also In re Mgndichian, 312 F. Supp. 2d 1250,
   3   1255 (C.D. Cal. 2003) (prevailing party need only “alleg[e] that the government’s
   4   position was not substantially justified and that no special circumstances exist that
   5   make an award unjust”); 28 U.S.C. § 2412 (d)(1)(B) (“A party seeking an award of
   6   fees and other expenses … shall [] allege that the position of the United States was
   7   not substantially justified.”).
   8          “The test for whether the government is substantially justified is one of
   9   ‘reasonableness.’” Gonzales v. Free Speech Coal., 408 F.3d 613, 618 (9th Cir.
  10   2005). Defendants must show that the government’s position has “a ‘reasonable
  11   basis both in law and fact.’” Meier v. Colvin, 727 F.3d 867, 870 (9th Cir. 2013)
  12   (quoting Pierce v. Underwood, 487 U.S. 552, 565 (1988)).
  13          In analyzing the reasonableness of the Government’s position, a court
  14   considers the totality of the circumstances, which incorporates both the underlying
  15   governmental action and the Government’s litigation position. See Ibrahim, 912
  16   F.3d at 1168 (“[T]he substantial justification test is comprised of two inquiries, one
  17   directed toward the government agency’s conduct, and the other toward the
  18   government’s attorneys’ conduct during litigation.”); Kali v. Bowen, 854 F.2d 329,
  19   332 (9th Cir. 1988) (inquiry includes whether both the original action and the
  20   defense of the action was substantially justified); see also Rawlings v. Heckler, 725
  21   F.2d 1192, 1196 (9th Cir. 1984). Moreover, “the EAJA—like other fee-shifting
  22   statutes—favors treating a case as an inclusive whole, rather than as atomized line-
  23   items.” Ibrahim, 912 F.3d at 1169 (quoting Jean, 496 U.S. at 161-62). The Ninth
  24   Circuit has “consistently held that regardless of the government’s conduct in the
  25   federal court proceedings, unreasonable agency action at any level entitles the
  26   litigant to EAJA fees.” Id. at 1167 (quoting Li v. Keisler, 505 F.3d 913, 919 (9th
  27   Cir. 2007)).
  28


                                                 6      MEM. IN SUPPORT OF MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
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   1         Defendants will not succeed in making either showing. First, the underlying
   2   agency action was not substantially justified. The DHS regulations in particular
   3   were plainly designed to undercut rather than implement the central protections of
   4   the Settlement. See Flores v. Rosen, 984 F.3d at 737, 743 (explaining that the DHS
   5   regulations “undermine the Agreement’s core ‘presumption in favor of releasing
   6   minors,’ and its requirement that those not released be placed in ‘licensed, non-
   7   secure facilities that meet certain standards’” and “[t]he Final Rule takes precisely
   8   the approach Flores I rejected” (quoting Flores v. Lynch, 828 F.3d 898, 901 (9th
   9   Cir. 2016)); Sept. 27 Order at 17 (“The New Regulations are a condition
  10   subsequent that not only do not implement the Flores Agreement, they intentionally
  11   subvert it.”); see also Sept. 27 Order at 5-11 (analyzing “irreconcilable”
  12   inconsistencies between the DHS regulations and the Settlement).
  13         Defendants’ litigation position also lacked substantial justification.
  14   Defendants moved to terminate the Settlement in full despite obvious and
  15   intentional inconsistencies between the Final Rule and the Settlement. See Flores
  16   v. Rosen, 984 F.3d at 737, 740, 744. Moreover, Defendants’ primary arguments in
  17   favor of termination under Federal Rule of Civil Procedure 60(b) were foreclosed
  18   by binding precedent in this case. See id. at 740-44; see also Sept. 27 Order at 19-
  19   20 (“Defendants’ remaining arguments regarding changes in law and fact constitute
  20   yet another in a long line of not so thinly-veiled motions for reconsideration of prior
  21   Orders rejecting similar arguments.”). Defendants’ new argument that the Final
  22   Rule itself constituted a change in law warranting termination of the Settlement was
  23   similarly contrary to Ninth Circuit precedent. See Flores v. Rosen, 984 F.3d at 741
  24   (citing Nehmer v. U.S. Dep’t of Veterans Aff., 494 F.3d 846 (9th Cir. 2007)).
  25
             B. Lodestar Calculation
  26         A “lodestar” figure for the amount of fees Plaintiffs should recover is
  27   calculated by multiplying the number of hours counsel reasonably dedicated by the
  28


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   1   inflation-adjusted EAJA hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433
   2   (1983); Costa v. Comm’r of Soc. Sec. Admin., 690 F.3d 1132, 1135 (9th Cir. 2012).5
   3         The Ninth Circuit’s inflation-adjusted EAJA base rate during 2018, 2019,
   4   2020, and 2021, the years counsel worked to secure and defend the Sept. 27 Order,
   5   is published by the Ninth Circuit at
   6   https://www.ca9.uscourts.gov/attorneys/statutory-maximum-rates/ (last visited
   7   December 1, 2021). Plaintiffs also request fees for a paralegal’s work at $100 per
   8   hour. See Richlin Sec. Service Co. v. Chertoff, 553 U.S. 571, 590 (2008) (“[A]
   9   prevailing party that satisfies EAJA’s other requirements may recover its paralegal
  10   fees from the Government at prevailing market rates.”); Rosemary G. V. v. Saul,
  11   No. 3:19-cv-00715-RBM, 2020 WL 6703123, at *5 (S.D. Cal. Nov. 12, 2020)
  12   (approving $130 hourly paralegal rate); Lara v. Berryhill, No. 2:16-CV-0034 DB,
  13   2017 WL 4679989, at *3 (E.D. Cal. Oct. 18, 2017) (awarding fees for paralegal
  14   time at $100 per hour).
  15         The hours counsel devoted to prosecuting this action, adjusted for time that
  16   was poorly documented or excessive, appear in the itemized time records annexed
  17   to the declarations of Plaintiffs’ counsel. Holguín at ¶ 10; see also Ex. B to
  18   Holguín; Declaration of Leecia Welch, Exhibit B, (“Welch”) at ¶ 21; see also Ex. C
  19   to Welch; Declaration of Holly Cooper, Exhibit C (“Cooper”) at ¶¶ 18-19; see also
  20   Exs. A-C to Cooper; Declaration of Rene Kathawala, Exhibit D (“Kathawala”) at ¶
  21   4; see also Ex. 1 to Kathawala. These hours multiplied by the Ninth Circuit’s
  22   inflation-adjusted base rates yield a lodestar fee request of $281,401.12. Welch ¶
  23   27. Plaintiffs further request an additional $2,196.00 in paralegal fees. Id.
  24         As will be seen next however, the Court should award Plaintiffs fees for
  25   senior counsel’s work at “enhanced,” or market, hourly rates.
  26
  27   5
        An increase over the base rate to account for inflation is granted in all but unusual
  28   circumstances. Animal Lovers Volunteer Ass’n v. Carlucci, 867 F.2d 1224, 1227
       (9th Cir. 1989).

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   1         C. Special Factors Warrant a Fee Award at Market Rates for Plaintiffs’
                Senior Counsel
   2
             The EAJA authorizes the Court to award attorneys’ fees at market rates
   3
       where there is a “limited availability of qualified attorneys for the proceedings
   4
       involved.” 28 U.S.C. § 2412(d)(2)(A). Enhanced hourly rates may be awarded
   5
       where plaintiffs’ counsel “possess ‘distinctive knowledge’ and ‘specialized skill’
   6
       that was ‘needful to the litigation in question’ and ‘not available elsewhere at the
   7
       statutory rate.’” Nadarajah v. Holder, 569 F.3d 906, 912 (9th Cir. 2009) (quoting
   8
       Thangaraja v. Gonzales, 428 F.3d 870, 876 (9th Cir. 2005) and Love, 924 F.2d at
   9
       1498); see also Pierce, 487 U.S. at 572 (“Examples … would be an identifiable
  10
       practice specialty such as patent law, or knowledge of foreign law or language.”).
  11
             In Nadarajah, the Ninth Circuit found this test was satisfied where counsel
  12
       had “distinctive knowledge and specialized skill in immigration law and, in
  13
       particular, constitutional immigration law and litigation involving the rights of
  14
       detained immigrants” and this skill was “needful to the litigation in question.” 569
  15
       F.3d at 912-15 (quoting Thangaraja, 428 F.3d at 876); see also Fang v. Gonzales,
  16
       No. 03-71352, 2006 WL 5669901, at *3 (9th Cir. Oct. 30, 2006) (“Counsel Smith’s
  17
       specialized skills and distinctive ‘knowledge of … particular esoteric nooks and
  18
       crannies of immigration law,’” allowed her “to succeed in obtaining relief from
  19
       removal for Fang.” (quoting Thangaraja, 428 F.3d at 876)). In Nadarajah, the
  20
       Ninth Circuit accordingly awarded the prevailing party’s most experienced
  21
       attorneys fees at enhanced rates. 569 F.3d at 916-18.
  22
             In Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal. 2010), the
  23
       Government moved to dissolve an injunction requiring immigration authorities to
  24
       follow specific procedures when detaining, processing and removing Salvadoran
  25
       nationals. Id. at 936. The court largely denied the motion, and the plaintiffs sought
  26
       EAJA fees at market rates because defending against the Government’s motion
  27
       required specialized knowledge of, inter alia, the history of the litigation that had
  28


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   1   resulted in the injunction. Id. at 959-63. In addition to special knowledge of
   2   immigration law and procedure and complex civil litigation, the court found that the
   3   prevailing parties’ counsel “by virtue of their long involvement in this litigation,
   4   possess[ed] distinctive knowledge crucial to litigation of this complicated case,” id.
   5   at 961, and had specialized skills—including proficiency in Spanish—that were
   6   necessary to defend the injunction. Id. at 960-63.
   7
             1. Plaintiffs’ counsel possess distinctive knowledge and specialized skill that
   8            was necessary to the litigation
   9         Similar to Orantes-Hernandez and Nadarajah, Plaintiffs’ senior counsel here
  10   have extensive experience, knowledge and specialized skill in immigration law,
  11   youth law, and more particularly, the rights of detained immigrant and asylum-
  12   seeking children as they exist at the intersection of the Settlement, the Homeland
  13   Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135 (“HSA”), the William
  14   Wilberforce Trafficking Victims Protection Reauthorization Act of 2008, Pub. L.
  15   No. 110-457, 122 Stat. 5044 (“TVPRA”), and the United States Constitution.
  16         First, Plaintiffs’ senior counsel are highly skilled litigators with vast expertise
  17   in representing immigrants, refugees, and youth.
  18         In 2017, this Court awarded Plaintiffs fees under EAJA for the work of class
  19   counsel, Carlos Holguín, at a market rate, upon finding that he possesses “intimate
  20   knowledge of the Agreement”; that “[i]n addition to litigating the matter that led to
  21   the Agreement, … Holguin [has] been involved with monitoring the government’s
  22   compliance with the Agreement since its inception”; and that he is “therefore
  23   uniquely positioned to efficiently litigate the enforcement action in question.”
  24   Flores v. Sessions, No. CV 85-4544, 2017 WL 8943169, at *4 (C.D. Cal. Nov. 14,
  25   2017) (“Family Detention Fees Order”).6
  26
  27   6
        Class counsel Holguín is among the leading lawyers litigating class actions on
  28   behalf of immigrant and refugee children. See Perez-Olano v. Gonzalez, 248


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   1         Co-counsel Holly Cooper is similarly accomplished in representing detained
   2   immigrant and refugee children, has received multiple national awards for her
   3   expertise defending detained immigrant children, and trains lawyers nationally on
   4   complex federal litigation. Declaration of Stacy Tolchin, January 7, 2022, Exhibit
   5   F (“Tolchin”) ¶¶ 12-18. Ms. Cooper’s specialized expertise at the intersection of
   6   immigration law, immigrant children’s rights, and complex federal class action
   7   litigation, and her extensive personal involvement in litigating on behalf of detained
   8   immigrant children in this case and related litigation, uniquely positioned her to
   9   litigate Plaintiffs’ enforcement motion. Tolchin ¶¶ 8-11.
  10         Co-counsel Leecia Welch is a national expert in the area of child welfare and
  11   has spent the majority of her career representing children and youth in cases
  12   focused on enforcing their statutory and constitutional rights. Declaration of John
  13   F. O’Toole, December 2, 2021, Exhibit G (“O’Toole”) ¶¶ 9, 13; Declaration of
  14   Richard M. Pearl, January 6, 2022, Exhibit H (“Pearl”) ¶ 14. Ms. Welch’s
  15   specialized expertise at the intersection of child welfare law, complex federal class
  16   action litigation and consent decree enforcement, and the rights of detained
  17
  18
       F.R.D. 248 (C.D. Cal. 2008); League of United Latin Am. Citizens v. Wilson, 908 F.
  19   Supp. 755 (C.D. Cal. 1995). In the instant matter, he has argued for the Plaintiff
  20   class numerous times before this Court, the Ninth Circuit, and the U.S. Supreme
       Court, and numerous reported decisions have resulted therefrom. Flores v. Meese,
  21   681 F. Supp. 665 (C.D. Cal. 1988); Flores v. Meese, 934 F.2d 991 (9th Cir. 1990);
  22   Flores v. Meese, 942 F.2d 1352 (9th Cir. 1991) (en banc); Reno v. Flores, 507 U.S.
       292 (1993); Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015); Flores v.
  23   Sessions, 862 F.3d 863 (9th Cir. 2017).
  24   He “is among a very few advocates for immigrant children’s rights in the country
       with the knowledge and experience needed to give the Flores class a fair chance of
  25   prevailing against ORR.” Declaration of Justin Mixon, October 23, 2017, Exhibit E
  26   (“Mixon”) ¶ 6. He is able to communicate with detained class members in Spanish,
       the language the vast majority speak, has deep knowledge of the Settlement and the
  27   litigation and negotiations that preceded the Settlement, and has for years
  28   monitored Defendants’ treatment of and policies and practices toward detained
       immigrant and refugee children. Holguín at ¶¶ 6-7.

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   1   immigrant children, her extensive personal involvement in litigating on behalf of
   2   detained immigrant children in this case and related litigation, and the National
   3   Center for Youth Law’s institutional knowledge of this litigation, uniquely
   4   positioned her to litigate Plaintiffs’ enforcement motion and oppose Defendants’
   5   motion to terminate. O’Toole ¶¶ 14-16; Pearl ¶¶ 14-15; Welch ¶¶ 4, 24-25.
   6         Second, successfully litigating the motion to enforce and defending against
   7   the motion to terminate required specialized expertise regarding immigrant
   8   children’s rights under the Settlement—including prior judicial interpretations of
   9   the Settlement and the requirements for terminating the Settlement—as well as an
  10   understanding of how the Government’s immigration detention system operates in
  11   practice and how the Final Rule would affect children’s substantive rights. O’Toole
  12   ¶ 15 (“I believe that the issues surrounding the termination of the Settlement and
  13   the proposed regulations’ inconsistencies with the Settlement could not have been
  14   successfully litigated without Ms. Welch’s specialized expertise, including her
  15   expertise regarding children’s rights under the Flores Settlement, the legal
  16   requirements for terminating complex consent decrees involving government
  17   agencies, and federal and state regulatory and licensing frameworks governing
  18   government care of children.”); Tolchin ¶ 10 (“I do not believe this case could have
  19   been successfully litigated without the particular skill that Holly Cooper brought to
  20   this litigation.”). Plaintiffs’ counsel’s deep familiarity with the history of this
  21   litigation was especially critical to protecting class members’ rights given that many
  22   of Defendants’ arguments for terminating the Settlement involved previously
  23   litigated issues. See Flores v. Rosen, 984 F.3d at 736, 740-44; Sept. 27 Order at 7,
  24   13, 17-21; see also Orantes-Hernandez, 713 F. Supp. 2d at 961.
  25
             2. Other qualified counsel is unavailable at the statutory rate
  26
             The motions at issue in this litigation involved the Government’s efforts to
  27
       terminate the Settlement and thus necessarily had to be litigated by Plaintiffs’
  28


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   1   counsel. As class counsel in this case, Plaintiffs’ counsel were also uniquely
   2   positioned to understand the risk to these children and pursue relief on their behalf.
   3         Moreover, few, if any, other lawyers in the country could have or would have
   4   prosecuted a class-wide action on behalf of indigent, non-English-speaking
   5   children, whom Defendants sought to strip of the protections of the Flores
   6   Settlement Agreement. Even if alternative private attorneys were able to pursue
   7   this litigation, other qualified attorneys would have been highly unlikely to take this
   8   case at the statutory rate:
   9          [F]ew members of the immigration bar regularly engage in federal court
              litigation; those who do, typically pursue cases on behalf of individual clients;
  10          and only a very small number are willing and able to prosecute class actions,
  11          or indeed, any federal litigation in which a favorable outcome is not reasonably
              assured with a minimal investment of time and money.
  12
       Mixon ¶ 11; accord Declaration of Kristen Jackson, October 16, 2017, Exhibit I ¶ 5
  13
       (“[I]n my experience few legal aid lawyers or members of the private bar are
  14
       willing to dedicate the time and resources to undertake federal litigation on behalf
  15
       of detained immigrant and refugee minors. When private practitioners do pursue
  16
       federal litigation, they typically charge much more than the inflation-adjusted
  17
       EAJA statutory rate.”); O’Toole ¶ 16 (“[D]ue to the specialized nature of Ms.
  18
       Welch’s expertise, I believe that it would have been impossible to find
  19
       appropriately qualified attorneys with the requisite knowledge of the Flores
  20
       Settlement and complex child welfare litigation to undertake this representation at
  21
       the inflation-adjusted EAJA rate.”); Pearl ¶ 15 (“[Ms. Welch’s] practice specialties
  22
       were patently useful in this case and in the instant motion to enforce … I am certain
  23
       that her distinctive expertise and skills are not available at the EAJA statutory
  24
       maximums (plus COLA’s) or anything close to those rates.”); Tolchin ¶ 21 (“I do
  25
       not believe that this work could have been done by any attorney at the EAJA
  26
       market rate, adjusted for inflation.”).
  27
  28


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   1         These factors warrant the Court’s awarding attorneys’ fees at rates “in line
   2   with those [rates] prevailing in the community for similar services by lawyers of
   3   reasonably comparable skill, experience and reputation.” Nadarajah, 569 F.3d at
   4   916 (quoting Blum v. Stenson, 465 U.S. 886, 895 & n.11 (1984)).
   5
             3. Market rates for Plaintiffs’ senior counsel
   6
             As appears in the Declaration of Carol Sobel, Sept. 27, 2021, Exhibit J
   7
       (“Sobel”) ¶ 20, Mr. Holguín’s hourly market rate in 2018 was $825, in 2019 was
   8
       $855, in 2020 was $905 and in 2021 is $935. Ms. Sobel is a Los Angeles attorney
   9
       whose expertise in market rates courts have repeatedly recognized. See, e.g.,
  10
       Nadarajah, 569 F.3d at 912-13; Orantes-Hernandez, 713 F. Supp. 2d at 959 n.44.
  11
       Plaintiffs request the Court award fees for Mr. Holguín’s work in 2018-2021 at
  12
       $775 per hour, well below his actual market rate.
  13
             Market rates for Leecia Welch are supported in the declaration of Richard
  14
       Pearl, a California attorney specializing in issues related to court-awarded
  15
       attorneys’ fees. Pearl ¶¶ 12-16. Courts have frequently relied on Mr. Pearl’s
  16
       opinions and writings on court-awarded attorneys’ fees. Pearl ¶¶ 4, 6-10. Plaintiffs
  17
       request the Court award fees for Ms. Welch’s work in 2018 at $665 per hour and in
  18
       2019, 2020, and 2021 at $690 per hour.
  19
             Market rates for Holly Cooper are supported in the declaration of Stacy
  20
       Tolchin. Tolchin ¶ 21. Ms. Tolchin is a Los Angeles attorney who specializes in
  21
       immigration and attorneys’ fees litigation under the Equal Access to Justice Act
  22
       (EAJA). Tolchin ¶¶ 6-7, 19. Plaintiffs request the Court award fees for Ms.
  23
       Cooper’s work in 2018 at $650 per hour, in 2019 at $680 per hour, and in 2020 at
  24
       $700 per hour.
  25
             Plaintiffs’ total fees request, with senior counsel’s time billed at enhanced
  26
       rates, additional counsel’s at inflation-adjusted base rates, paralegal fees at market
  27
       rates, and costs incurred is $480,749.46. Welch Dec. ¶ 27.
  28


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   1         D. Plaintiffs Should Be Awarded Their Reasonable Costs

   2      Congress crafted the EAJA to “reduce the deterrents and disparity by entitling

   3   certain prevailing parties to recover an award of attorney fees, expert witness fees,

   4   and other expenses against the United States.” H.R. Rep. No. 96-1418 at 6, 1980

   5   U.S.C.C.A.N. at 4984. The EAJA therefore provides for the award of costs as

   6   enumerated in 28 U.S.C. § 1920, and for “fees and other expenses.” 28 U.S.C. §

   7   2412(a), (d)(1)(A). Plaintiffs request the Court award them costs totaling $1,103.16.

   8   Welch ¶ 27; Ex. B to Welch.

   9      IV.   CONCLUSION
  10         For the foregoing reasons, this Court should award Plaintiffs attorneys’ fees
  11   and costs pursuant to 28 U.S.C. § 2412(d) as herein requested.
  12
  13
  14   Dated: January 12, 2022          CENTER FOR HUMAN RIGHTS AND
                                        CONSTITUTIONAL LAW
  15                                    Carlos R. Holguín
  16
                                        NATIONAL CENTER FOR YOUTH LAW
  17                                    Neha Desai
  18                                    Melissa Adamson
                                        Mishan Wroe
  19                                    Diane de Gramont
  20
                                        CHILDREN’S RIGHTS
  21
                                        Leecia Welch
  22
  23
                                        /s/ Mishan Wroe
  24                                    Mishan Wroe
                                        One of the Attorneys for Plaintiffs
  25
  26
  27
  28


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